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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

MARY ANN SHULA                                                                 PLAINTIFF

v.                          CASE NO. 4:07-CV-00922 BSM

BANK OF AMERICA, N.A.                                                       DEFENDANT

                                         ORDER

       Warren A. Stephens requests to intervene in this case (Doc. No. 155) and argues that

any award of fees and costs to the defendant should not be assessed to the trust. Because the

order granting the defendant’s motion for fees and costs (Doc. No. 160) also denies plaintiff

Mary Ann Shula’s motion to assess the fees and costs against the trust, Stephens’s motion

is denied as moot. Stephens’s motion for leave to file a reply to Shula’s response to

Stephens’s original motion is also denied as moot.

       IT IS SO ORDERED this 22nd day of January, 2010.



                                                  UNITED STATES DISTRICT JUDGE
